           Case 1:19-cr-00059-LO Document 205 Filed 04/29/21 Page 1 of 1 PageID# 1805
                                    UNITED STATES DISTRICT COUR
                                   EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION


                                                   MAGISTRATE JUDGE:THERESA CARROLL BUCHANAN
                                                   DEPUTY CLERK: TINA FITZGERALD


    UNITED STATES OF AMERICA                        HEARING:          ptv _CASE #:_
                -VS-                                DATE:                       : JH'.OOpn^
                                                                             TIME



       "3)ani^                                      recorder:ftr system             remote hearing(X
COUNSEL FOR THE UNITED STATES^.

COUNSEL FOR THE DEFENDANT:                              QA<jsgrvgje:

NTERPRETER:                                                 LANGUAGEi

    X )DEFENDANT APPEARED: ( X )WITH COUNSEL                {      )WITHOUT COUNSEL
    )( )DEFT. INFORMED OF RIGHTS, CHARGES, PENALTIES and/or VIOLATIONS
       )COURT TO APPOINT COUNSEL                            ( ) DFT. TO RETAIN COUNSEL

       )GVT. CALL WITNESS & ADDUCES EVIDENCE       (    )AFFIDAVIT

       )EXHBIT #                     ADMITTED

    X )PROBABLE CAUSE: FOUND(X )/NOT FOUND( )
       )PRELIMINARY HEARING WAIVED

       )MATTER CONTINUED FOR FURTHER PROCEEDINGS BEFORE THE GRAND JURY

       )DEFT. ADMITS VIOLATION(        )DFT. DENIES VIOLATION (       )COURT FINDS DFT. IN VIOLATION

MINUTES: \                                                           c& 4h\S -Hone. Tiel^
 4ln.Rj>r -VV^eye. nca ot&AukAi N\b\aYicrfb.                                             a%                .
OjqajA                            \i\D\oj|f\Qrfc> as rxpnH-eci-DgM"-
Added conditions of release:
($            )UNSECURED ($             )SECURED( )PTS(         )3'° PARTY(     )TRAVEL RESTRICTED
{      )APPROVED RESIDENCE(        )SATT(     )PAY COSTS(        } ELECTRONIC MONITORING (      )MENTAL HEALTH
TEST/TREAT(        ) ROL(     ) NOT DRIVE {   ) FIREARM {       )PASSPORT(     )AVOID CONTACT
(      ) ALCOHOL & DRUG USE(       ) EMPLOYMENT

 ( X )DEFENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSHALS
 (       )DEFENDANT CONTINUED ON CONDITIONS OF SUPERVISED(             )PROBATION(      )RELEASE
NEXT COURT APPEARANCE
, X )DH (       )PH {
                            : 5 1hU\     _at  \0:CD   Am   Before 0'(jjrTasiL^
                        )STATUS( )TRIAL( )JURY{ )PLEA( )SENT( )PBV ( } SRV ( )R40(                       )ARR
